    Case: 1:17-md-02804-DAP Doc #: 1529 Filed: 04/08/19 1 of 10. PageID #: 43765




                            IN THE UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

    IN RE NATIONAL PRESCRIPTION                                        MDL No. 2804
    OPIATE LITIGATION                                                  Case No. 17-md-2804
                                                                       Judge Dan Aaron Polster

    This document relates to:
    “Track One Cases”


        MANUFACTURER DEFENDANTS’ OBJECTION TO DISCOVERY RULING
         NUMBER 18 REGARDING PRESCRIPTIONS AND DISPENSING DATA


          Manufacturer Defendants 1 respectfully submit this objection to Discovery Ruling 18

Regarding Prescriptions and Dispensing Data. [Dkt No. 1476.] Specifically, Manufacturer

Defendants object to the ruling that Plaintiffs sufficiently answered Manufacturer Interrogatory

No. 6. Plaintiffs failed to do so because they neither identified “the specific misrepresentation,

omission, or wrongdoing that allegedly caused [each allegedly medically unnecessary]

prescription [Plaintiffs identified] to be written” nor stated in a verified written response that they

are unable to do so.

          Manufacturer Interrogatory No. 6 (as amended by Discovery Ruling 5) requires Plaintiffs

to:

          Identify and describe 500 prescriptions of opioids that were written in [Plaintiff’s
          jurisdiction] in reliance on any alleged misrepresentations, omissions, or other
          alleged wrongdoing by any Defendant. Include in the response the healthcare
          provider; the patient; the date of prescription; which opioid or opioids were
          prescribed; the specific misrepresentation, omission, or wrongdoing that allegedly
          caused the prescription to be written; the Defendant and the specific sales
          representative(s), employee(s), or agent(s) of the Defendant that made or
          committed the alleged misrepresentation, omission, or wrongdoing; the person or
          persons to whom the alleged misrepresentation or omission was made or to whom
          the alleged wrongdoing was directed; and whether, by whom, and for how much

1
      The Manufacturer Defendants are identified in the signature blocks.
  Case: 1:17-md-02804-DAP Doc #: 1529 Filed: 04/08/19 2 of 10. PageID #: 43766




       the prescription was approved for reimbursement. …Plaintiffs’ responses must
       include at least 10 prescriptions for an opioid sold by each manufacturing
       defendant.

(Ex. 1 (emphasis added)).

       After months of delay and motion practice, Plaintiffs finally responded to Interrogatory

No. 6 on December 31, 2018. When Plaintiffs finally responded, they failed to provide the discrete

and critical information requested in Interrogatory No. 6 that the Special Master and the Court had

ordered them to identify. Instead, Plaintiffs simply referred to the same list of prescriptions,

doctors, and individuals they provided in response to Interrogatory Nos. 7 (individuals harmed by

opioid prescriptions) and 10 (“medically unnecessary” opioid prescriptions). (Ex. 2). Plaintiffs

did not identify when, or even if, any of the prescribers they named heard any of the alleged

misrepresentations in this case.         Likewise, Plaintiffs did not identify which alleged

misrepresentation(s) each prescriber relied on in writing each of the listed prescriptions. In

other words, even after the Special Master ordered Plaintiffs to link a limited number (500) of

hand-selected prescriptions (as opposed to every prescription for which they seek to recover) to

the alleged misrepresentations, Plaintiffs still refused. Whether unable or unwilling to tether

specific alleged misstatements by specific manufacturer defendants on specific dates to specific

prescriptions, Plaintiffs left the critical part of Interrogatory No. 6 unanswered.

       Less than a week after Plaintiffs’ deficient response, Manufacturer Defendants moved to

compel complete answers to Interrogatory No. 6. (Ex. 3). Special Master Cohen denied the motion

on March 26, 2019, excusing Plaintiffs from answering the Interrogatory in full because Plaintiffs

have said they are relying on an aggregate proof theory of reliance and causation:

       Ultimately, plaintiffs simply do not claim that a specific misrepresentation made by
       a specific defendant representative led to the writing of a specific prescription.
       Therefore, it is not reasonable to require plaintiffs to provide this information in
       response to Interrogatory no. 6. Whether the evidence that is adduced can support



                                                  2
    Case: 1:17-md-02804-DAP Doc #: 1529 Filed: 04/08/19 3 of 10. PageID #: 43767




         plaintiffs’ claims and legal theories remains an open question 2; but whether
         plaintiffs’ responses provide defendants with sufficient information relevant to the
         claims and defenses actually at issue in the Track One cases is not.

[Dkt No. 1476 at 4 (emphasis in original)].

         Respectfully, this Ruling impermissibly confines the scope of relevant discovery. Under

Rule 26, discovery of facts relevant to Defendants’ defenses must be permitted regardless of how

Plaintiffs choose to try their case. FED. R. CIV. P. 26(b)(1) (“Parties may obtain discovery

regarding any nonprivileged matter that is relevant to any party’s claim or defense and proportional

to the needs of the case . . . .”). Indeed, it is well settled that Plaintiffs cannot unilaterally limit the

scope of discovery based on their theories alone. See, e.g., United States v. Bd. of Trade of City of

Chi., Inc., 1973 WL 891, at *1-2 (N.D. Ill. Oct. 30, 1973) (“The proposition that an adverse litigant

may not unilaterally determine the scope of discovery needs no citation.”); United States v. Article

of Drug Consisting of 30 Individually Cartoned Jars, 43 F.R.D. 181, 189 (D. Del. 1967) (“It is

beyond doubt that the scope of the [plaintiff’s] interrogatories is not limited to claimaint’s theory

of the case . . . [T]he law is well settled that a party may [conduct discovery] on its theory of the

facts and law as well as that of its opponent.”); Crosby v. City of Gastonia, 2009 WL 753751 at

*2 (W.D.N.C. March 18, 2009) (“Plaintiffs’ theory of the case does not preclude the Defendant

from having a different theory or defense, especially where, as here, the information is plainly

‘relevant to the subject matter involved in the action”’) (quoting Fed. R. Civ. P. 26(b)(1));

Remsberg v. Docupak, 2012 WL 13028302, at *2 (N.D. W.Va. Sept. 25, 2012) (“The Defendant

is not limited in its discovery to only the Plaintiff’s theories of the case; thus, it is entitled to

discover any evidence which might have a relevant bearing to its defense.”).


2
  Whether plaintiffs’ aggregate proof theory is legally sufficient to prove their claims is not relevant to the question
of discovery for the reasons discussed in this Objection. However, to the extent the Court intends to address that issue
in ruling on this Objection, Manufacturer Defendants request the opportunity to submit additional briefing.



                                                           3
  Case: 1:17-md-02804-DAP Doc #: 1529 Filed: 04/08/19 4 of 10. PageID #: 43768




       Here, whether any specific doctor relied on a particular alleged misstatement by any

Manufacturer Defendant is fundamental to the Manufacturer Defendants’ defenses to Plaintiffs’

marketing-based claims. Plaintiffs premise their claims on doctors writing medically unnecessary

prescriptions because of purported misrepresentations by the Manufacturer Defendants. Thus,

even if “Plaintiffs do not intend . . . to demonstrate specific reliance by these medical professionals

on a prescription-by prescription basis,” (Ex. 4, 1/8 L. Singer Letter), evidence that specific doctors

were not misled by specific defendants and did not rely on a particular defendant’s marketing

statements in writing specific opioid prescriptions is critical to disproving Plaintiffs’ sweeping

theory that all opioid prescriptions in the Track 1 jurisdictions were medically unnecessary and all

doctors who wrote those prescriptions did so because they were misled. Special Master Cohen

recognized this when he revised Interrogatory No. 6 to require Plaintiffs to identify “the specific

misrepresentation, omission, or wrongdoing that allegedly caused the prescription to be written.”

[Dkt No. 1027]. And although that requirement is crystal clear, Plaintiffs have ignored it by

pointing to prescriptions written for Track 1 residents that purportedly led to opioid use disorder,

without even attempting to provide information that would link any alleged misstatements to those

prescriptions (e.g., when or even if the doctor heard any alleged misrepresentation by the company

who sold the medicine he/she prescribed).

       Nothing has changed since the Special Master’s order requiring Plaintiffs to answer the re-

written Interrogatory No. 6 that now justifies letting Plaintiffs off the hook. Discovery Ruling 18

is inconsistent with the mandates of Rule 26 because it allows Plaintiffs’ theories to unilaterally

dictate the scope of discovery. Equally significant, Discovery Ruling 18 also restricts relevant

follow-up discovery. Defendants are hamstrung without knowledge of what specific alleged

misrepresentations Plaintiffs contend were made to whom and when. Without this information,




                                                  4
  Case: 1:17-md-02804-DAP Doc #: 1529 Filed: 04/08/19 5 of 10. PageID #: 43769




the Defendants’ ability to seek information from doctors to determine if the doctor ever heard an

alleged misrepresentation, let alone relied on it, has been and will be limited. Plaintiffs now claim

that it would be of no moment even if the Manufacturer Defendants could talk to doctors about

alleged misstatements by specific defendants because the doctors would not remember or know

what they relied on. (Ex. 4, 1/8/19 Singer letter). This position may be convenient for Plaintiffs,

but it is legally untenable and undermines Defendants’ fundamental due process rights to develop

the facts needed to defend themselves. See, e.g., Gueye v. Univ. of Cincinnati, 2006 WL 3350717,

at *1 (S.D. Ohio Nov. 17, 2006) (“Plaintiff argues that he answered to the best of his ability and

that counsel cannot ‘dictate to Plaintiff how to answer their frivolous questions.’                While

Defendant’s counsel cannot dictate such to Plaintiff, the Court is well within its authority to do so,

especially when it appears that Plaintiff’s responses are entirely non-responsive.”).

        Even assuming mere reference to collective reliance was sufficient to answer this

Interrogatory (it is not), Plaintiffs fail to tie the alleged collective misstatements to a collective set

of prescriptions. Of course, not all doctors saw all of the allegedly improper marketing materials.

Some doctors likely saw only a subset of the general materials identified by Plaintiffs. Others may

not have received marketing materials from a particular Defendant but still prescribed that

Defendant’s product to certain patients. And still others may not have received any marketing

materials from any Defendant at all. So even if Plaintiffs are permitted to point to alleged reliance

on collective marketing, they should be required to tie a specific set of collective marketing

statements to specific doctors and a specific set of collective prescriptions. This would allow

Defendants to, at a minimum, review their files to determine if a prescriber ever heard those

misrepresentations. Indeed, consistent with the Court’s ruling on Defendants’ motion to dismiss,

Defendants must be allowed to defend this case by showing that the alleged misrepresentations




                                                    5
  Case: 1:17-md-02804-DAP Doc #: 1529 Filed: 04/08/19 6 of 10. PageID #: 43770




did not actually influence providers to write the prescriptions Plaintiffs contend are at issue. [Dkt

No. 1025 at 25 n. 20 (“To the extent Defendants maintain that Plaintiffs were required to name

specific prescribers, this court disagrees. . . . Defendants will certainly have the opportunity to

request the identity of these doctors during discovery, and Plaintiffs will need to support their

theories with evidence to withstand a motion for summary judgment or persuade the trier of fact.”).

        Earlier this year, a court in Connecticut analyzed the problems associated with

municipalities proceeding on a speculative theory of reliance and causation in these opioid matters,

recognizing that such a theory involves “determining causation by conjecture” and is “junk

justice.” City of New Haven v. Purdue, Dkt No. XO7 HHD CV 17 6086134 S (Jan. 8, 2019)

(attached as Exhibit 5). Of course, Plaintiffs may choose the evidence they present in support of

their claims. However, this Court should not allow Plaintiffs to avoid responding to Interrogatory

No. 6 with individualized facts relevant to Defendants’ defenses simply because Plaintiffs intend

to rely on speculative aggregate proof theories to attempt to meet their burden of proving reliance

and causation.

        Finally, Manufacturers acknowledge that Plaintiffs cannot be compelled to respond to this

Interrogatory with facts they do not have or individualized reliance they cannot prove. But

Plaintiffs should not be allowed to avoid their discovery obligations by stating that all prescriptions

were caused by some undefined collective set of marketing. If Plaintiffs cannot identify any

specific statement by any specific defendant that any specific doctor relied on in writing an opioid

prescription, as the Interrogatory asks, they should be required to state that in a verified response.

Because party fact discovery has long closed, Manufacturer Defendants submit that this is the only

appropriate relief at this time.




                                                  6
Case: 1:17-md-02804-DAP Doc #: 1529 Filed: 04/08/19 7 of 10. PageID #: 43771




Dated: April 8, 2019                  Respectfully submitted,

                                      By: /s/ Donna M. Welch
                                      Donna M. Welch, P.C.
                                      KIRKLAND & ELLIS LLP
                                      300 North LaSalle, Chicago, IL 60654
                                      Tel: (312) 862-2000
                                      donna.welch@kirkland.com

                                      Attorney for Defendant Allergan Finance,
                                      LLC f/k/a/ Actavis, Inc. f/k/a Watson
                                      Pharmaceuticals, Inc.

                                      By: /s/ Steven A. Reed
                                      Steven A. Reed
                                      Eric W. Sitarchuk
                                      Rebecca J. Hillyer
                                      MORGAN, LEWIS & BOCKIUS LLP
                                      1701 Market St.
                                      Philadelphia, PA 19103-2921
                                      Tel: (215) 963-5603
                                      steven.reed@morganlewis.com
                                      eric.sitarchuk@morganlewis.com
                                      rebecca.hillyer@morganlewis.com

                                      By: /s/ Brian M. Ercole
                                      MORGAN, LEWIS & BOCKIUS LLP
                                      200 S. Biscayne Blvd., Suite 5300
                                      Miami, FL 33131-2339
                                      Tel: (305) 415-3000
                                      brian.ercole@morganlewis.com

                                      Attorneys for Teva Pharmaceuticals, USA,
                                      Inc., Cephalon, Inc., Watson Laboratories,
                                      Inc., Actavis LLC, and Actavis Pharma, Inc.
                                      f/k/a Watson Pharma, Inc.

                                      By: /s/ Mark S. Cheffo
                                      Mark S. Cheffo
                                      Sheila L. Birnbaum
                                      Hayden A. Coleman
                                      DECHERT LLP
                                      Three Bryant Park
                                      1095 Avenue of the Americas
                                      New York, NY 10036
                                      Tel: (212) 698-3500
Case: 1:17-md-02804-DAP Doc #: 1529 Filed: 04/08/19 8 of 10. PageID #: 43772




                                      Mark.Cheffo@dechert.com
                                      Sheila.Birnbaum@dechert.com
                                      Hayden.Coleman@dechert.com

                                      Attorneys for Defendants Purdue Pharma
                                      L.P., Purdue Pharma Inc., and The Purdue
                                      Frederick Company

                                      By: /s/ Charles C. Lifland
                                      Charles C. Lifland
                                      Sabrina H. Strong
                                      O’MELVENY & MYERS LLP
                                      400 S. Hope Street
                                      Los Angeles, CA 90071
                                      Tel: (213) 430-6000
                                      clifland@omm.com
                                      sstrong@omm.com

                                      Attorneys for Defendants Janssen
                                      Pharmaceuticals, Inc., Johnson & Johnson,
                                      Janssen Pharmaceutica, Inc. n/k/a Janssen
                                      Pharmaceuticals, Inc., and Ortho-
                                      McNeil-Janssen Pharmaceuticals, Inc. n/k/a
                                      Janssen Pharmaceuticals, Inc.

                                      By: /s/ Jonathan L. Stern
                                      Jonathan L. Stern
                                      Arnold & Porter Kaye Scholer LLP
                                      601 Massachusetts Ave. NW
                                      Washington, DC 20001
                                      Tel: (202) 942-5000
                                      jonathan.stern@arnoldporter.com

                                      Sean O. Morris
                                      Arnold & Porter Kaye Scholer LLP
                                      777 S. Figueroa St., Suite 4400
                                      Los Angeles, CA 90017
                                      Tel: (213) 243-4000
                                      sean.morris@arnoldporter.com

                                      Attorneys for Defendants Endo Health
                                      Solutions Inc. and Endo Pharmaceuticals Inc.
                                      Attorneys for Defendants Par
                                      Pharmaceutical, Inc. and Par
                                      Pharmaceuticals Companies, Inc.
Case: 1:17-md-02804-DAP Doc #: 1529 Filed: 04/08/19 9 of 10. PageID #: 43773




                                                 By: /s/ Brien T. O’Connor
                                                 Brien T. O’Connor
                                                 Andrew J. O’Connor
                                                 ROPES & GRAY LLP
                                                 Prudential Tower
                                                 800 Boylston St.
                                                 Boston, MA 02199-3600
                                                 Tel: (617) 235-4650
                                                 Brien.O’Connor@ropesgray.com
                                                 Andrew.O’Connor@ropesgray.com

                                                 Attorneys for Defendants Mallinckrodt LLC
                                                 and SpecGX LLC


                                                 By: /s/ J. Matthew Donohue
                                                 J. Matthew Donohue
                                                 HOLLAND & KNIGHT LLP
                                                 2300 U.S. Bancorp Tower
                                                 111 S.W. Fifth Avenue
                                                 Portland, OR 97204
                                                 Telephone: (503) 243-2300
                                                 Facsimile: (503) 241-8014
                                                 matt.donohue@hklaw.com

                                                 Attorney for Defendant INSYS
                                                 THERAPEUTICS, INC.




                         LOCAL RULE 7.1(F) CERTIFICATION

      I certify that this Memorandum adheres to the page limitations set forth in L.R. 7.1(f).

Dated: April 8, 2019                             By: /s/ Donna M. Welch
                                                 Donna M. Welch, P.C.
                                                 KIRKLAND & ELLIS LLP
                                                 300 North LaSalle, Chicago, IL 60654
                                                 Tel: (312) 862-2000
                                                 donna.welch@kirkland.com

                                                 Attorney for Defendant Allergan Finance,
                                                 LLC f/k/a/ Actavis, Inc. f/k/a Watson
                                                 Pharmaceuticals, Inc.
 Case: 1:17-md-02804-DAP Doc #: 1529 Filed: 04/08/19 10 of 10. PageID #: 43774




                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 8, 2019 a copy of the foregoing Manufacturer Defendants’

Objections to Discovery Ruling Number 18 Regarding Prescriptions and Dispensing Data

and accompanying exhibits were filed electronically. Notice of this filing will be sent to all parties

by operation of the Court’s electronic filing system. Parties may access this filing through the

Court’s system.


                                              By: /s/ Donna M. Welch
                                              Donna M. Welch, P.C.
                                              KIRKLAND & ELLIS LLP
                                              300 North LaSalle, Chicago, IL 60654
                                              Tel: (312) 862-2000
                                              donna.welch@kirkland.com
